THIS was an action of assumpsit for certain weekly dues at the rate of six dollars per week for forty-six weeks, which it was alleged the deceased was entitled to at the time of his death from the defendant, of which order and lodge he had during that time been a member, with the usual pleas. Heard before Wootten and Houston, Judges, Comegys, C. J., absent.
The act of incorporation of the defendant was put in evidence on behalf of the plaintiff, with a printed copy of the constitution, *Page 454 
by-laws, and rules of order of the lodge, from which it appeared that any member of it who had attained to the knight's degree in it for a period of not less than nine months, and who was in arrears not more than three months in the payment of his dues to it, in case of sickness or disability should be unable to follow his usual or any other occupation, provided the same was not produced by intemperance or other immoral conduct, on application to the committee of relief should receive weekly the sum of six dollars during the continuance of such sickness or disability, but no member should receive benefits for any time previous to being reported to the relief committee. And in no case should any member receive benefits while there was a charge pending against him, and no member applying for benefits who was three months in arrears should receive the same until six weeks after the arrearages were paid. It was further proved that the deceased was admitted a member of the lodge on the 23d day of June, 1870, and continued a member of it in good standing in all respects and of the knight's degree until his death on the 1st day of May, 1877. The amount claimed by the plaintiff was two hundred and seventy-six dollars, with interest from that date.
For the defendant it was proved that the deceased had been admitted a member of the lodge on a certificate of his membership in a similar lodge in New Jersey prior to that time, and had been sick and disabled in all for thirty weeks, up to April 25th, 1875, during which his weekly benefits had been paid to him, amounting to one hundred and eighty dollars; and he had in the meantime during his membership paid in dues to the lodge forty-four dollars and forty cents. During the three months preceding the 22d day of April, 1875, the lodge had paid out in benefits to six members four hundred and twenty-one dollars and ten cents, and for the want of funds it was obliged to suspend the payment of them for six months, as it had authority to do under its constitution, and which was sanctioned by a unanimous vote of the lodge. It resumed payment six months afterward, and after that the deceased was paid sixty dollars, and still later one hundred and fifty dollars was paid to his widow after his death to pay his burial expenses — amounting in the whole to three *Page 455 
hundred and ninety dollars. The deceased was sick three different times and in receipt of his weekly benefits from the lodge.
Bird (Randall with him) for the defendant, contended that by the constitution and laws of the Supreme Order of the Knights of Pythias, a meritorious and benevolent brotherhood voluntarily associated together and organized as a charitable corporation for their mutual benefit and relief in case of sickness, the plaintiff had her only and appropriate remedy by an appeal to it in this case, and where full justice would have been afforded her had she resorted to it. It could not be considered to constitute under such articles of association a legal obligation or business contract on which an action at law could be maintained, and no such suit at law had ever before been brought in any State in the Union.
Lore, for the plaintiff: This was a contract cognizable in a court of law clearly. The legal consideration for the promise sued on in this action was the dues agreed to be paid by the decedent as a member of it to the lodge, and which were paid by him. The promises were mutual between the parties to the contract and constituted a good and valuable consideration in law for each other.
The Court,
That the action would lie on the contract between the parties alleged in the case, and if they were satisfied from the evidence that there was any balance due from the lodge to the decedent or his administratrix, the plaintiff in the action, after deducting the payments which had been made by the lodge, the defendant, and which were not denied or disputed, they should find a verdict for the plaintiff for that amount with interest from the death of the decedent.